
Mr. Justice Thachek
delivered the opinion of the court.
This is an indictment for retailing vinous and spirituous liquors in less quantities than a gallon, within the city of Vicksburg, and without a license.
The proof upon the trial was, that the defendant below retailed the prohibited article in less quantity than a gallon at a place “ four miles out of and from the city of Vicksburg,” and upon this proof the jury found a verdict of guilty as charged in the indictment.
The statute of 1842, amendatory of the statute of 1839, “ for the suppression of tippling houses, and to discourage and prevent the odious vice of drunkenness,” sec. 2, appropriates all moneys accruing from the granting of licenses to retail, and from fines for a violation of the statute, committed within the city of Vicksburg, to that city.
Under this provision of the foregoing statute, the particular place where the offence was alleged to have been committed* became a fact and circumstance constituting the offence, and made it incumbent upon the state to prove it as stated in the indictment.
Judgment reversed and new trial granted.
